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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7   IN RE: CATHODE RAY TUBE (CRT)                        MDL No. 1917
                                       ANTITRUST LITIGATION
                                   8                                                       Case No. C-07-5944 JST

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                                                                                           ORDER TO SHOW CAUSE WITH
                                  10   This Order Relates To:                              RESPECT TO ATTORNEYS' FEES AND
                                                                                           INCENTIVE AWARDS
                                  11
                                       ALL DIRECT PURCHASER PLAINTIFFS
                                  12
Northern District of California
 United States District Court




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                                  14          Currently pending before the Court are motions for attorneys' fees and incentive awards
                                  15   filed by named plaintiffs in certain Direct Purchaser Plaintiff (DPP) cases. See ECF Nos. 4055,
                                  16   4056. The Court has completed its preliminary review of these motions and finds that certain
                                  17   additional information is required. Accordingly, the Court now orders moving parties to provide
                                  18   the following information:
                                  19          1.      Complete, unredacted copies of all receipts, bills, and records supporting counsel’s
                                  20   requests for meal and travel reimbursement in the amount of $392,643.18; and
                                  21          2.      Complete, contemporaneously-recorded bills with justification for all time billed
                                  22   for all attorneys or related legal professionals whose work forms the basis of fees requested in the
                                  23   pending motion, for all firms requesting such fees, only with respect to the months of July 2011,
                                  24   January 2013, and March 2014.1
                                  25          Lead counsel for DPPs will gather this information from each firm, consolidate it into a
                                  26   single filing, accurately label the component parts, and lodge it with the Court not later than 12:00
                                  27
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                                  28     The Court may request additional such materials in the future if it concludes that this sample size
                                       is too small.
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                                   1   noon on November 23, 2015.2

                                   2          The December 15, 2015 hearing on Plaintiffs’ attorneys' fees and incentive award motions

                                   3   remains as set.

                                   4          IT IS SO ORDERED.

                                   5   Dated: November 10, 2015
                                                                                      ______________________________________
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                                                                                                    JON S. TIGAR
                                   7                                                          United States District Judge

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                                  12
Northern District of California
 United States District Court




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                                  28    The Court requires that these materials be lodged rather than filed to obviate any work product
                                       concerns.
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